                      IN THE UNITED STATES DISTRICT COURT FOR THE
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

JANE DOE 2,                                             )
                                                        )
         Plaintiff,                                     )
                                                        )
v.                                                      )       Civil No. 3:23-cv-00582
                                                        )       Judge Trauger
JIMMIE ALLEN, ET AL.,                                   )
                                                        )
         Defendants.                                    )


                              ORDER SETTING CASE FOR TRIAL

         1.      Trial setting: This case is set for jury trial on Tuesday, March 18, 2025 at
                 9:00 a.m. in Courtroom 6C of the United States Courthouse, 719 Church Street,
                 Nashville, Tennessee.

         2.      Pretrial conference setting: A pretrial conference shall be held in Judge Trauger’s
                 chambers, Suite #6325 United States Courthouse, 719 Church Street, Nashville,
                 Tennessee, on March 14, 2025 at 1:30 p.m. Lead counsel for each party must
                 attend the pretrial conference. If lead counsel is not from Tennessee, local
                 counsel must also attend.

         3.      Information exchanged but not filed: By February 25, 2025 , the parties shall
                 exchange copies of exhibits and make available for examination by any opposing
                 party the original of all exhibits. By this same date, the parties shall exchange
                 designations of portions of depositions which are to be read into evidence during
                 the case in chief. The parties should attempt to agree on additions to the
                 designations necessary to put responses into context.

         4.      Filings required prior to pretrial conference: The following shall be filed by
                 March 11, 2025:

                 a.      witness lists;

                 b.      exhibit lists (Plaintiff’s exhibits shall be premarked as “P-1, P-2,” etc.;
                         defendant’s exhibits shall be premarked as “D-1, D-2,” etc. The
                         authenticity of exhibits should be stipulated to if at all possible. Failure to
                         include an exhibit on this exhibit list will result in its not being admitted
                         into evidence at trial, except upon a showing of good cause.);



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          c.     stipulations; and

          d.     expert witness statements as described in Local Rule 39.01(c)(5)(E).

    5.    Motions in limine: Motions in limine shall be filed by February 28, 2025 .
          Responses shall be filed by March 11, 2025.

    6.    Pretrial Order: By March 11, 2025 , the parties shall file a joint proposed Pretrial
          Order which shall contain the following:

          a.     a recitation that the pleadings are amended to conform to the Pretrial Order
                 and that the Pretrial Order supplants the pleadings;

          b.     the jurisdictional basis for the action and whether jurisdiction is disputed;

          c.     a short summary of each party’s theory (prepared by the party);

          d.     a listing of the contested issues of law, with a designation of whether the
                 issue is for the jury or the judge; and

          e.     a listing of known evidentiary disputes, including those involving
                 deposition designations.

    7.    Duration of trial: The trial of this case is expected to last 5 days.

    8.    Jury costs: If the case settles closer to trial than two business days, the cost of
          summoning the jury may be assessed against the parties.

    It is so ORDERED.



                                                 ________________________________
                                                 ALETA A. TRAUGER
                                                 U.S. District Judge




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